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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND


DISH NETWORK, L.L.C.,

       Plaintiff,

       v.

DIMA FURNITURE INC., d/b/a Spider-TV,
                                                         Civil Action No. TDC-17-3817
MOHAMMAD YUSIF,
individually and d/b/a Spider-TV and
TAREQ HASWEH,
individually and d/b/a Spider-TV,

       Defendants.




                                            ORDER

       On June 17,2019, United States Magistrate Judge Timothy J. Sullivan filed a Report and

Recommendation       in which he recommended that this Court GRANT the Motion for Default

Judgment Against Defendant Tareq Hasweh filed by Plaintiff DISH Network, L.L.c. ("DISH").

Objections to that Report and Recommendation were due on July 1, 2019. See Fed. R. Civ. P.

72(b )(2). That deadline has now passed and the Court has received no objections.

       Accordingly, upon review of Judge Sullivan's Report and Recommendation, it is hereby

ORDERED that:

       1. Judge Sullivan's Report and Recommendation,        ECF No. 42, is ADOPTED as an

            Order of the Court.

       2. DISH's Motion for Default Judgment, ECF No. 35, is GRANTED.
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3. Judgment is entered in favor of DISH against Hasweh in the amount of $1,200,000

   for statutory damages. That award shall accrue post-judgment interest as provided for

   and calculated in accordance with 28 U.S.C.       S   1961.

4. Defendant and any of his officers, agents, servants, employees, attorneys, or other

   persons, including all dealers and retailers of Spider-TV set-top boxes and service

   plans, acting in active concert or participation with any of the foregoing that receives

   actual notice of the order, are permanently enjoined from:

       a. copying by means of any device or process the Protected Channels or any of

          the programming that comprises the Protected Channels;

       b. transmitting, streaming, distributing, or publicly performing in the United

           States, by means of the Spider-TV service, or any other device or process, the

          Protected   Channels     or the programming             that comprises   the Protected

          Channels;

       c. distributing,    selling, providing,    or promoting         any product     or servIce,

          including the Spider-TV set-top box, service plan, and the SpiderTV-1 and

           SpiderTV -2 sections of the Spider-TV service, that comprises the whole

          or   part   of    a network     or     service    for     the distribution   and public

          performance of the Protected Channels or the pro gramming that comprises the

          Protected Channels;

       d. advertising, displaying, or marketing the Spider-TV service or set-top boxes

          in connection      with the Protected          Channels    or the programming        that

           comprises the Protected Channels; and

       e. otherwise infringing Plaintiffs        rights III the Protected        Channels,   either


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          directly, contributorily, vicariously, or in any other manner.

5. Third parties providing any form of electronic storage, computer server, website

   hosting, file hosting (including data center and colo cation, primary and backup

   storage, back-end), domain hosting, domain name registration, privacy protection for

   domain registration, anonymization for domain registration, proxy, content delivery

   network services, content acceleration (including traffic routing, bandwidth, content

   delivery networks,   web content optimization,       website/data   security),   advertising

   (including   search based online advertising),     and social media services used in

   connection with any of the activities enjoined under Paragraph 4, and who receive

   actual notice of this Order, are enjoined from providing such services in connection

   with any of the activities enjoined under Paragraph 4. This includes but is not limited

   to terminating the SpiderReceiverHd,       Spideriptv, and Spider-IPTV accounts used to

   distribute, sell, provide, or promote Spider-TV set-top boxes or service plans on the

   internet. This also includes OVH SAS and OVH GmbH disabling IP addresses

   51.89.6.99 and 54.37.72.34; OVH Hosting Inc. disabling IP addresses 158.69.55.234

   and 167.114.211.70; and all future service providers disabling all IP addresses used to

   transmit any of the Protected Channels on the Spider-TV service. The IP addresses

   may be reassigned to other customers after they have been disabled and are no longer

   being used in connection with any of the activities enjoined under Paragraph 4.

6. The registries and registrars of the domain names Spider-tv. com, Spideriptv.com,

   Ipmmss.com,      Ipmsactive.com,    Tigeriptv.com,     and   Royaliptv.com,       including

   VeriSign,    Inc., GoDaddy.com,    LLC, and Name.com,         Inc., within 48 hours of

   receiving this Order from Plaintiff, shall (i) make the web sites and any other content



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          located at the domain names inaccessible to the public; (ii) transfer the domain names

          to Plaintiff, including changing the registrar of record to the registrar selected by

          Plaintiff at Plaintiffs   reasonable expense; and (iii) after the transfer, reenable the

          domain names so that Plaintiff may fully control and use the domain names.

       7. Violation of this Order shall subject Defendant and all other persons bound by this

          Order to all applicable penalties, including contempt of Court.

       8. The Court shall retain jurisdiction over this action for two years for the purpose of

          enforcing this final judgment and permanent injunction.

       9. The Clerk is directed to administratively close this case.




Date: July~,     2019
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